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        RISE IN HOMELESS DEATHS
               2019 VS. 2020




                                                                                     1
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                                                                      Homeless Deaths
                                       1200                                                                      1141
Number of Deaths in First Ten Months
                                       1000


                                                             837
                                                                                           36%
                                       800
                                                                                        INCREASE

                                       600




                                       400




                                       200




                                         0

                                                             2019                                                 2020
                                                                                        Year


                                                                                                                                   6
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                                               Homeless Deaths (Adjusted for Covid-19)
                                       1200
Number of Deaths in First Ten Months                                                                            1094
                                       1000
                                                                                          31%
                                                            837
                                                                                       INCREASE
                                       800




                                       600




                                       400




                                       200




                                         0

                                                            2019                                                2020
                                                                                      Year


                                                                                                                                   7
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            AGREEMENT (DKT. 136)




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           FREEWAY ENTRANCES




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PROJECT ROOMKEY WIND-DOWN




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                                                                        1. Where are the 15,000 rooms
                                                                           promised in July and
                                                                           September?

                                                                        2. Why has it taken so long?

                                                                        3. Why are we telling the public
                                                                           that they can depend on
                                                                           these rooms when we knew
                                                                           they were temporary?

                                                                        4. Should the Court take action
                                                                           with or without the County
                                                                           or City’s input?




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                                                                        5. It was represented to the
                                                                        Court on September 15th by
                                                                        Executive Director Heidi
                                                                        Marston that LAHSA had
                                                                        sufficient funding to cover the
                                                                        costs associated with freeway
                                                                        underpass and overpass
                                                                        relocation as well as Project
                                                                        Roomkey and the recreational
                                                                        facility download.




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                  PALLET SHELTERS




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LA STREETS – MACARTHUR PARK




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TRASH UNDERNEATH 101 FREEWAY




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NEED FOR CALTRANS COOPERATION




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                          NOTICE




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LACK OF STREET CLEANING NOTICE




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   PENMAR – BONIN DISTRICT
  WITHOUT AND WITH FENCING




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              PHIL ANSELL EMAIL




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SETTLEMENT REQUEST BY BONIN?




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